  Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 1 of 50 PageID #:4476




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                           WESTERN DIVISION

 BENJAMIN SCHOENTHAL et al.,

                                  Plaintiffs,
                                                            NO. 3:22-cv-50326
                      v.
                                                         HON. IAIN D. JOHNSTON
 KWAME RAOUL et al.,

                                Defendants.


                     MEMORANDUM OPINION AND ORDER

   The Illinois Firearm Concealed Carry Act bans carrying firearms on public trans-

portation, 430 ILCS 66/65(a)(8); to violate the ban is a misdemeanor, 430 ILCS

66/70(e). Plaintiffs Benjamin Schoenthal, Mark Wroblewski, Joseph Vesel, and Doug-

las Winston allege that the ban violates the Second Amendment 1 and bring this ac-

tion against several defendants with the power to enforce Illinois’ criminal code: At-

torney General Kwame Raoul, 2 DeKalb County State’s Attorney Rick Amato, DuPage

County State’s Attorney Robert Berlin, Cook County State’s Attorney Kimberly Foxx,

and Lake County State’s Attorney Eric Rinehart. Plaintiffs ask for a declaratory judg-

ment that the ban is unconstitutional and seek to enjoin Defendants from enforcing

it against them. Before the Court are three motions for summary judgment—one from



   1 As it is incorporated by the Due Process Clause of the Fourteenth Amendment against

the states. McDonald v. City of Chicago, 561 U.S. 742, 791 (2010).
    2 The Court is not so sure that the Illinois Attorney General has the authority to enforce

the criminal aspects of the ban, but he doesn’t make that argument. So, the Court will assume
for purposes of these motions that the Illinois Attorney General can enforce the criminal
components of the ban.


                                                1
  Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 2 of 50 PageID #:4477




Plaintiffs, one from Ms. Foxx, 3 and one from the remaining defendants (“State De-

fendants”). After an exhaustive review of the parties’ filings and the historical record,

as required by Supreme Court precedent, the Court finds that Defendants failed to

meet their burden to show an American tradition of firearm regulation at the time of

the Founding that would allow Illinois to prohibit Plaintiffs—who hold concealed-

carry permits—from carrying concealed handguns for self-defense onto the CTA and

Metra. 4 For the following reasons, Ms. Foxx’s motion is denied, State Defendants’

motion is denied, and Plaintiffs’ motion is granted in part.

                                   LEGAL STANDARD

   Summary judgment is proper “if the movant shows that there is no genuine dis-

pute as to any material fact and the movant is entitled to judgment as a matter of

law.” Fed. R. Civ. P. 56(a). A genuine dispute of material fact exists if a reasonable

factfinder could return a verdict for the nonmovant; it does not require that the dis-

pute be resolved conclusively in favor of the nonmovant. Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 248-49 (1986). The Court must construe the “evidence and all rea-

sonable inferences in favor of the party against whom the motion under consideration

is made.” Rickher v. Home Depot, Inc., 535 F.3d 661, 664 (7th Cir. 2008).



   3 Ms. Foxx’s briefs included a request for discovery sanctions, which the Court has already

addressed. Schoenthal v. Raoul, No. 3:22-cv-50326, 2024 U.S. Dist. LEXIS 79497, at *5 (N.D.
Ill. May 1, 2024).
     4 Keeping in mind Justice Gorsuch’s explanation in his concurrence in Rahimi, this

Court’s ruling is specific to the facts presented. See United States v. Rahimi, 144 S. Ct. 1889,
1909-10 (2024) (Gorsuch, J., concurring). “Trump-appointed judge allows firearms on Illinois
public transit” is a likely chyron for this decision. That’s unfortunate. Federal judges—in-
cluding those who will review this decision—engage in exacting, thoughtful, and careful anal-
yses that are not results oriented or reducible to headlines and chyrons. We’re doing the best
we can.


                                               2
  Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 3 of 50 PageID #:4478




   Local Rule 56.1 statements of fact serve a valuable purpose in this process: they

help the Court in “organizing the evidence and identifying disputed facts.” FTC v.

Bay Area Bus. Council, Inc., 423 F.3d 627, 633 (7th Cir. 2005). Each fact must be

supported by evidentiary material. LR 56.1(d)(2); Malec v. Sanford, 191 F.R.D. 581,

583 (N.D. Ill. 2000) (“Factual allegations not properly supported by citation to the

record are nullities.”). 5 Legal arguments aren’t permitted in factual allegations or

responses, and responses “may not set forth any new facts.” LR 56.1(d)(4), (e)(2). 6

“District courts are ‘entitled to expect strict compliance’ with Rule 56.1, and do not

abuse their discretion when they opt to disregard facts presented in a manner that

does not follow the rule’s instructions.” Gbur v. City of Harvey, 835 F. Supp. 2d 600,

606-07 (N.D. Ill. 2011); Ammons v. Aramark Unif. Servs., 368 F.3d 809, 817 (7th Cir.

2004).




   5 In arguing that portions of Plaintiffs’ LR 56.1 statement should be disregarded, Ms. Foxx

contends that Plaintiffs’ “self-serving” affidavits are improper. However, a “self-serving” affi-
davit should not be excluded just because it is self-serving. Hill v. Tangherlini, 724 F.3d 965,
967 (7th Cir. 2013) (“As we have repeatedly emphasized over the past decade, the term ‘self-
serving’ must not be used to denigrate perfectly admissible evidence through which a party
tries to present its side of the story at summary judgment.”). Nearly all litigants’ statements
are self-serving. And if a court could not consider self-serving affidavits during summary
judgment, then no summary judgment motion could ever be granted, including Ms. Foxx’s.
The Court may ignore testimony from such affidavits if it contradicts previous sworn testi-
mony from the declarant (also known as a “sham affidavit”), James v. Hale, 959 F.3d 307,
316 (7th Cir. 2020), or if there are other evidentiary concerns, see Baines v. Walgreen Co., 863
F.3d 656, 662 (7th Cir. 2017), but the Court doesn’t automatically strike any statement of
fact that relies on a “self-serving” affidavit.
    6 Plaintiffs improperly open their response to Defendants’ statement of facts with an ar-

gument for why they reserve analysis of the relevance and importance of asserted facts for
their brief. Such an explanation is gratuitous—that is how the LR 56.1 statements are sup-
posed to work. The lengthy responses where they reiterate the legal arguments in their brief,
e.g., Dkt. 88 at 10 ¶ 65, 16 ¶ 88, 19 ¶ 96, violate LR 56.1.


                                               3
  Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 4 of 50 PageID #:4479




                                  BACKGROUND

   In Illinois, openly carrying firearms is unlawful. 720 ILCS 5/24-1. Under the Fire-

arm Concealed Carry Act, an individual with a concealed-carry license may generally

carry a concealed handgun in public. 430 ILCS 66/10. This general permission, how-

ever, does not extend to a list of prohibited areas, including public transportation.

Plaintiffs challenge this provision. The relevant part of the statute reads as follows:

   (a) A licensee under this Act shall not knowingly carry a firearm on or into:

          ...

          (8) Any bus, train, or form of transportation paid for in whole or in part
          with public funds, and any building, real property, and parking area un-
          der the control of a public transportation facility paid for in whole or in
          part with public funds.

430 ILCS 66/65(a).

   Plaintiffs are licensed under Illinois law to carry a concealed handgun. Dkt. 71

¶¶ 9, 17, 25, 33. They don’t use public transportation as much as they would like

because of the statute’s threat of criminal prosecution for carrying a concealed fire-

arm on public transportation. Id. ¶¶ 12-13, 20-21, 27, 38-39; Dkt. 66 ¶ 22. There are

two specific transit systems that Plaintiffs declare they would use—the Chicago

Transit Authority (CTA), which operates approximately 140 bus routes and 242 miles

of rapid transit railroad track in the Chicago region, and the Metra commuter rail

agency, which operates eleven lines serving the six-county Chicago region. Dkt. 64

¶¶ 2-3; Dkt. 64-2 ¶ 7; Dkt. 64-3 ¶ 7; Dkt. 64-4 ¶ 11; Dkt. 64-5 ¶¶ 8-9.

   Mr. Schoenthal, who resides in DeKalb County, Illinois, uses public transporta-

tion for both personal and work purposes—he currently uses Metra to travel to


                                           4
  Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 5 of 50 PageID #:4480




Northwestern Medicine Delnor Hospital, DuPage County, and downtown Chicago.

Dkt. 64 ¶ 6; Dkt. 66-27 at 20:10-20; Dkt. 71 ¶¶ 7, 11; Dkt. 88 at 5 ¶ 24. Mr. Wroblew-

ski resides in DuPage County, specifically Woodridge, Illinois. Dkt. 64 ¶ 7; Dkt. 66

¶ 33; Dkt. 71 ¶ 15. He uses Metra to visit Chicago. Dkt. 66 ¶ 37; Dkt. 71 ¶ 19. Mr.

Vesel lives in La Grange, Illinois, located in Cook County. Dkt. 64 ¶ 8; Dkt. 66 ¶¶ 43-

44; Dkt. 71 ¶ 23. He hasn’t taken public transportation for at least two years despite

living less than half a mile from a Metra stop, but he wishes to take the CTA and

Metra more frequently. Dkt. 64-4 ¶¶ 8, 11; Dkt. 66 ¶¶ 45, 48, 50; Dkt. 71 ¶¶ 27-28.

Mr. Winston lives in Waukegan, in Lake County, Illinois. Dkt. 64 ¶ 9; Dkt. 66 ¶¶ 51-

52; Dkt. 71 ¶ 31. Mr. Winston asserts that he has taken Metra (from the Ogilvie sta-

tion) to travel to St. Louis. 7 Other than this asserted trip, he rarely takes public

transit but wishes to do so more often by taking the CTA and Metra to visit Evanston

and Chicago. Dkt. 64-5 ¶¶ 8-9; Dkt. 66 ¶¶ 55-56; Dkt. 71 ¶ 38. All four plaintiffs would

carry a handgun on public transportation if not for the Firearm Concealed Carry Act’s

ban. Dkt. 71 ¶¶ 12-13, 20-21, 27, 38-39.

                                      DISCUSSION

   In N.Y. State Rifle & Pistol Ass’n v. Bruen, 597 U.S. 1 (2022), the Supreme Court

laid out the framework to be applied in analyzing regulations that restrict the bearing

of arms. Atkinson v. Garland, 70 F.4th 1018, 1019-20 (7th Cir. 2023). Rejecting the

two-step means-end approach that courts had employed after District of Columbia v.




   7 The Court notes that this assertion doesn’t make much sense as Amtrak, which travels

to St. Louis, leaves Union Station, not Ogilvie, and Metra sure doesn’t travel to St. Louis.


                                              5
  Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 6 of 50 PageID #:4481




Heller, 554 U.S. 570 (2008), the Court introduced a new and fundamentally different

two-step test, holding that

   when the Second Amendment’s plain text covers an individual’s conduct, the
   Constitution presumptively protects that conduct. To justify its regulation, the
   government may not simply posit that the regulation promotes an important
   interest. Rather, the government must demonstrate that the regulation is con-
   sistent with this Nation’s historical tradition of firearm regulation. Only if a
   firearm regulation is consistent with this Nation’s historical tradition may a
   court conclude that the individual’s conduct falls outside the Second Amend-
   ment’s “unqualified command.”

Bruen, 597 U.S. at 17 (quoting Konigsberg v. State Bar of Cal., 366 U.S. 36, 50 n.10

(1961)); see also Rahimi, 144 S. Ct. at 1898 (“As we explained in Bruen, the appropri-

ate analysis involves considering whether the challenged regulation is consistent

with the principles that underpin our regulatory tradition.”). 8 Although the test is

grounded in history, “the Second Amendment permits more than just those regula-

tions identical to ones that could be found in 1791.” Rahimi, 144 S. Ct. at 1897-98.

When analyzing “modern regulations that were unimaginable at the founding,” the

government has the burden to “identify a well-established and representative histor-

ical analogue, not a historical twin.” Bruen, 597 U.S. at 30; see also Rahimi, 144 S.

Ct. at 1897-98.




   8 The motions before the Court were briefed before Rahimi was decided. However, Rahimi

had little, if any, impact on the issues in this case. Reiterating that analogical reasoning is
appropriate under Bruen, Rahimi’s “clarification” of how Bruen operates was akin to an Allen
charge. See Rahimi, 144 S. Ct. at 1897-98 (“[S]ome courts have misunderstood the methodol-
ogy of our recent Second Amendment cases. These precedents were not meant to suggest a
law trapped in amber.”). It did not suggest the availability of any new arguments that could
not have been made on the basis of Bruen alone.


                                              6
  Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 7 of 50 PageID #:4482




      At the outset, the Court notes that cross motions for summary judgment provided

a confusing procedural posture (to put it lightly). The summary judgment standard

is a different beast from assessing the substantive merits. Cf. DR Distribs., LLC v. 21

Century Smoking, Inc., No. 3:12-cv-50324, 2024 U.S. Dist. LEXIS 99866, at *39-43

(describing six reasons why “equating the probable merits inquiry with the summary

judgment inquiry” is “an uncomfortable fit”). With just one summary judgment mo-

tion, the Court construes the evidence in favor of the nonmovant. Liberty Lobby, 477

U.S. at 255. With cross motions, the Court must also switch back and forth between

hats as it sifts through the facts presented before it. In this case, that is then exacer-

bated by the burden shifting imposed by Bruen. 9

      The main feature of this action is the as-applied claim under Bruen. But, like a

movie theater with the inevitable slew of trailers preceding the feature film, the Court

must first address several other issues raised by the parties.

 I.      Preliminary Matters

      Before addressing the merits, the Court addresses two threshold issues—venue

and standing. See Spuhler v. State Collection Serv., 983 F.3d 282, 284 (7th Cir. 2020);

In re LimitNone, LLC, 551 F.3d 572, 577-78 (7th Cir. 2008).




      9 In retrospect, entering a prompt trial date and holding a bench trial on the merits would

have been a more satisfactory procedure. Alternatively, the Court could have cajoled the par-
ties to have a “trial on the papers.” Cf. Crespo v. Unum Life Ins. Co. of Am., 294 F. Supp. 2d
980, 991 (N.D. Ill. 2003); see generally Morton Denlow, Trial on the Papers: An Alternative to
Cross-Motions for Summary Judgment, Fed. Law., Aug. 1999, at 30. That would have also
been a better approach compared to summary judgment, though it would lack the benefit of
a public trial on an important issue.


                                                 7
  Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 8 of 50 PageID #:4483




    A.    Venue

   In her summary judgment filings, Ms. Foxx challenges venue for the first time.

But she failed to contest venue earlier, so the challenge is waived. Fed. R. Civ. P.

12(h).

    B.    Standing

   Next, the parties dispute whether Plaintiffs have standing. “To establish ‘the ir-

reducible constitutional minimum of standing,’ the plaintiff must have suffered an

injury in fact traceable to the defendant and capable of being redressed through a

favorable judicial ruling.” Sweeney v. Raoul, 990 F.3d 555, 559 (7th Cir. 2021) (quot-

ing Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992)). A plaintiff may bring a

pre-enforcement challenge instead of breaking a law to challenge its legitimacy “so

long as the threatened enforcement is ‘sufficiently imminent.’ ” Id. (quoting Susan B.

Anthony List v. Driehaus, 573 U.S. 149, 159 (2014)). This requires the plaintiff to

establish “both ‘an intention to engage in a course of conduct arguably affected with

a constitutional interest, but proscribed by a statute,’ and ‘a credible threat of prose-

cution thereunder.’ ” Id. (quoting Babbitt v. United Farm Workers Nat’l Union, 442

U.S. 289, 298 (1979)).

   The undisputed facts show that each plaintiff would carry a concealed handgun

on public transportation for the purpose of self-defense if not for the Firearm Con-

cealed Carry Act’s ban and its threat of arrest and prosecution. Dkt. 71 ¶¶ 12-13, 20-

21, 27, 38-39. That proposed course of conduct is “arguably affected with a constitu-

tional interest,” Susan B. Anthony List, 573 U.S. at 159 (quoting Babbit, 442 U.S. at

298)—indeed, as discussed later, it falls within the ambit of the Second Amendment’s


                                           8
  Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 9 of 50 PageID #:4484




right to armed self-defense. The conduct is also proscribed by the ban, as Plaintiffs

assert they are concealed-carry licensees who will ride Metra and CTA, which receive

public funding. See 70 ILCS 3615/1.03, 2.01(a). And finally, “there exists a credible

threat of prosecution thereunder.” Susan B. Anthony List, 573 U.S. at 159; Ezell v.

City of Chicago, 651 F.3d 684, 695-96 (7th Cir. 2011) (“The very ‘existence of a statute

implies a threat to prosecute, so pre-enforcement challenges are proper, because a

probability of future injury counts as “injury” for the purpose of standing.’ ” (quoting

Bauer v. Shepard, 620 F.3d 704, 708 (7th Cir. 2010))). Defendants neither argue that

the ban wouldn’t reach Plaintiffs’ proposed course of conduct nor disavow an intention

to prosecute Plaintiffs under the ban. That satisfies the injury requirement for this

pre-enforcement challenge.

   However, each plaintiff’s injury is limited to the specific proposed course of con-

duct in the record. See Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016); Davis v. FEC,

554 U.S. 724, 734 (2008) (“Standing is not dispensed in gross. Rather, a plaintiff must

demonstrate standing for each claim he seeks to press and for each form of relief that

is sought.” (cleaned up)). The record shows that all four plaintiffs wish to carry con-

cealed firearms aboard Metra trains, and that only Mr. Vesel and Mr. Winston wish

to do so on CTA buses. Dkt. 64-2 ¶ 7; Dkt. 64-3 ¶ 7; Dkt. 64-4 ¶ 11; Dkt. 64-5 ¶ 8.

Plaintiffs’ injuries are also limited by where they intend to take public transit. Mr.

Schoenthal takes Metra from the Elburn station (in Kane County) to Delnor Hospital

(also in Kane County), “central DuPage,” and Chicago (in Cook County), and he

swears he would take public transit more often, absent the Firearm Concealed Carry




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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 10 of 50 PageID #:4485




Act’s prohibition. Dkt. 66 ¶ 24; Dkt. 88 at 5 ¶ 24. 10 The evidence for Mr. Wroblewski

involves proposed trips to only Chicago. Dkt. 64-3 ¶ 7; Dkt. 66 ¶ 37. Mr. Vesel swears

he would take trips to Chicago and Rosemont (also in Cook County). Dkt. 64-4 ¶¶ 9,

11. And Mr. Winston’s testimony similarly includes locations in only Cook County—

Chicago, Evanston, and the Ogilvie Metra station. Dkt. 64-5 ¶¶ 8-9. 11

   State Defendants challenge Plaintiffs’ standing on the basis that Plaintiffs have

failed to show an injury with respect to buildings, real property, and parking areas.

But Plaintiffs all say they would take Metra more often if they could carry their hand-

guns onto the train, and boarding a Metra train requires stepping foot on Metra’s real

property. Cf. Nw. Mem’l Found. v. Johnson, 490 N.E.2d 161, 164 (Ill. App. Ct. 1986)

(“[T]his court takes judicial notice of the fact that the hospital complex is located in a

densely populated urban area which necessitates the need for adequate employee

parking.”). So, they have standing with respect to Metra’s real property, at least as

far as needed to board a Metra train.

   As for causation, Defendants, as the attorney general of Illinois and the state’s

attorneys of the Illinois counties relevant to Plaintiffs, enforce the statute. Dkt. 71




   10 Mr. Schoenthal’s supplemental declaration indicates that he would like to use the DeK-

alb bus system to reach the Elburn Metra station. Dkt. 87-1 ¶ 2. There are two issues. First,
this fact is presented without a citation to the statements of fact. See LR 56.1(g) (“When
addressing facts, the memorandum must cite directly to specific paragraphs in the LR 56.1
statements or responses.”). Second, this is an example of actual self-serving testimony that
need not be accepted as true. See James, 959 F.3d at 316 (“[T]he sham-affidavit rule prohibits
a party from submitting an affidavit that contradicts the party's prior deposition or other
sworn testimony.”). As Ms. Foxx points out, during deposition, Mr. Schoenthal made no men-
tion of the DeKalb bus system when naming all the forms of public transportation that he
wanted to use. See Dkt. 66-27 at 20:10-28:17.
    11 Mr. Winston’s use of public transit in St. Louis, Missouri, is irrelevant to this case.




                                             10
 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 11 of 50 PageID #:4486




¶¶ 1-6. But whether Plaintiffs’ injuries can be traced to a particular defendant de-

pends on where Plaintiffs use public transportation, based on the facts in the record.

So for Mr. Schoenthal, his injuries can only be traced to Ms. Foxx (Cook County), Mr.

Berlin (DuPage County), and Mr. Raoul. 12 And for Mr. Wroblewski, Mr. Vesel, and

Mr. Winston—who specify only that they would take trips to locations in Cook County

(Chicago, Evanston, Rosemont), but say nothing about their proposed points of de-

parture—their injuries can be traced to only Ms. Foxx and Mr. Raoul. No plaintiff has

standing against Mr. Amato (DeKalb County) or Mr. Rinehart (Lake County) absent

evidence that a plaintiff would go to a Metra station located in Lake County. (There

are no Metra stations in DeKalb County.)

   Plaintiffs seek an injunction of the ban or a declaration that the ban is unconsti-

tutional—either of which would redress Plaintiffs’ injuries. But Ms. Foxx argues that

this isn’t enough because the public transit that Plaintiffs use have separate policies

banning firearms. Plaintiffs’ injuries to be redressed, however, aren’t just that they

can’t carry their handguns on public transportation; after all, for a pre-enforcement

challenge, there has to be a “credible threat of prosecution.” Babbitt, 422 U.S. at 298.

Plaintiffs’ injuries trace back to the threat of enforcement from some of the defend-

ants, so either an injunction or a declaration would redress that injury, regardless of

potential injuries inflicted by nonparties. So, Plaintiffs have satisfied the redressabil-

ity requirement of standing. See Larson v. Valente, 456 U.S. 228, 243 n.15 (1982); see

also Martin v. Evans, 241 F. Supp. 3d 276, 283 (D. Mass. 2017) (finding that the


   12 Although Mr. Schoenthal rides Metra in Kane County (Elburn station, Delnor Hospi-

tal), Plaintiffs did not name the Kane County state’s attorney as a defendant.


                                             11
 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 12 of 50 PageID #:4487




plaintiffs met the redressability requirement even though nonparty law enforcement

officials, such as transit police, could also enforce the statute being challenged).

II.         Bruen-Avoidance Arguments

      Not immediately conceding Bruen’s relevance, Ms. Foxx tries to borrow principles

from other areas of law to defend the Firearm Concealed Carry Act’s ban. Both her

arguments fail.

       A.     Government as a proprietor

      Ms. Foxx first asserts that a “background principle[]” of constitutional law ex-

empts the Firearm Concealed Carry Act’s ban from the “strictures of the Second

Amendment” and obviates the need to undertake the historical analysis called for by

Bruen. Dkt. 68 at 3. Her argument—which is breathtaking, jawdropping, and eyepop-

ping—is this: the ban applies only to property “funded in whole or in part” by Illinois,

so Illinois has a proprietary interest in what it regulates. Because governments, like

private property owners, enjoy “an absolute right to exclude others” from their prop-

erty, Illinois may exclude whomever it wishes. Id. at 3-4. On her view, when the gov-

ernment regulates its own property, that regulation is exempt from the coverage of

the Second Amendment, or any other constitutional guarantee of individual rights. 13


      13 She says that this logic extends to Illinois’ “proprietor[ship] of government funds.” Dkt.

68 at 5. If her contention is that by partially funding some property the government thereby
acquires a plenary authority over it, that argument obviously fails. As discussed below, not
even property fully owned by the public affords to government the sweeping powers over it
claimed by Ms. Foxx; a fortiori the argument fails with respect to property partially owned
or funded by the public.
    To the extent she maintains that the government’s disbursement of funds allows it to lay
down rules governing the conduct of third parties who use what it funds in something other
than its sovereign capacity, that argument likewise fails. In support of this argument, she
draws on cases about Congress’ ability to “fix the terms” on which public money is disbursed



                                                 12
 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 13 of 50 PageID #:4488




(More on this later, but under Ms. Foxx’s argument, demonstrators could be barred

from the Daley Center Plaza, despite it being a quintessential public forum. Pindak

v. Dart, 125 F. Supp. 2d 720, 746 (N.D. Ill. 2015); Grutzmacher v. Pub. Bldg. Comm’n

of Chi., 700 F. Supp. 1497, 1502 (N.D. Ill. 1988).)

   Although the right to exclude—including the right to exclude those bearing

arms—may be a fundamental aspect of private property ownership, likely undimin-

ished by the Second Amendment, see Cedar Point Nursery v. Hassid, 594 U.S. 139,

150 (2021); GeorgiaCarry.Org, Inc. v. Georgia, 687 F.3d 1244, 1261 (11th Cir. 2012),

it doesn’t necessarily follow that when a government like Illinois (through its transit

agencies) act as a proprietor, the ban on arms bearing doesn’t implicate Plaintiffs’

rights under the Second Amendment. The constitutional protection afforded to other




under the Spending Clause. E.g., Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1, 17
(1981). But “legislation enacted pursuant to the spending power is much in the nature of a
contract: in return for federal funds, the [recipients] agree to comply with federally imposed
conditions.” Id. “Unlike ordinary legislation, which imposes congressional policy on regulated
parties involuntarily, Spending Clause legislation operates based on consent . . . . For that
reason, the legitimacy of Congress’ power to enact Spending Clause legislation rests not on
its sovereign authority to enact binding laws, but on whether the recipient voluntarily and
knowingly accepts the terms of that contract.” Cummings v. Premier Rehab Keller, P.L.L.C.,
596 U.S. 212, 219 (2022) (cleaned up). Thus, if Spending Clause jurisprudence is at all in-
structive here, it forecloses Ms. Foxx’s argument: a contract between Illinois and those who
receive its funds cannot govern the conduct of nonconsenting nonparties like Plaintiffs.


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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 14 of 50 PageID #:4489




individual rights isn’t nullified on public property; Ms. Foxx’s proffered authority says

nothing to the contrary. 14 She first cites several 15 First Amendment cases:

       •   Gilles v. Blanchard, 477 F.3d 466 (7th Cir. 2007)—which held that a public
           university’s prohibition against uninvited visitors using its library lawn to
           speak was consistent with the First Amendment—for its assertion that
           “[p]ublic property is property, and the law of trespass protects public prop-
           erty, as it protects private property, from uninvited guests.” Id. at 470.
       •   Adderley v. Florida, 385 U.S. 39 (1966)16—which held that the trespass con-
           victions of protestors who blocked the entrance of a county jail did not vio-
           late the First Amendment in the absence of any evidence that the sheriff
           had a discriminatory, viewpoint-based purpose in invoking and enforcing
           the law—for its assertion that “[t]he State, no less than a private owner of
           property, has power to preserve the property under its control for the use
           to which it is lawfully dedicated.” Id. at 47.
       •   International Society for Krishna Consciousness v. Lee, 505 U.S. 672
           (1992)—which held that a ban on solicitation in a government-owned air-
           port terminal (a nonpublic forum) did not violate the First Amendment—
           for the proposition that actions taken by the government as a proprietor are
           reviewed only for reasonableness. Id. at 679.

   Ms. Foxx’s position—that government’s powers over public property are equiva-

lent to those of private owners of property—is untenable, and was rejected by the




   14 Her argument is an impressive bricolage, cobbling together broad statements of princi-

ple drawn from disparate areas of law. Of course, however, what is said in judicial opinions
“must ‘be taken in connection with the case in which those expressions are used,’ Cohens v.
Virginia, [19 U.S. (6 Wheat.)] 264, 399 (1821), and may not be ‘stretch[ed] . . . beyond their
context,’ Brown v. Davenport, 596 U.S. 118, 141 (2022).” Rahimi, 144 S. Ct. at 1910 (Gorsuch,
J., concurring) (second alteration in original).
     15 Ms. Foxx also cites Lloyd Corp. v. Tanner, 407 U.S. 551, 569 (1972), for its assertion

that property does not “lose its private character merely because the public is generally in-
vited to use it for designated purposes.” Dkt. 68 at 4. But that case dealt with an alleged First
Amendment right to distribute handbills in a private shopping mall against the wishes of the
mall’s owner. It is clear from its context that the quoted language refers only to private prop-
erty, so it isn’t relevant to her argument.
     16 The brief mistakenly asserts that the quote comes from Greer v. Spock, 424 U.S. 828,

836 (1976), rather than Adderley. In fairness, Greer also cites the same sentence from Adder-
ley at the pincite given.


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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 15 of 50 PageID #:4490




Supreme Court long ago. 17 The cited cases don’t treat government ownership of prop-

erty as a trump to the protection ordinarily due to an individual right. Although the

government sometimes has greater power to regulate public property compared to

elsewhere, otherwise protected conduct doesn’t become categorically unprotected. If,

as Ms. Foxx suggests, all speech on government property were exempt from First

Amendment protection, the elaborate First Amendment doctrines of public forums

and governmental motivations (and the different degrees of scrutiny applicable to

each) would be utterly superfluous.

   Ms. Foxx’s other citations are equally unavailing. Engquist v. Oregon Department

of Agriculture, 553 U.S. 591 (2008)—which held that a public employee could not raise

an equal protection claim for arbitrary treatment when not based on membership in

any particular class—asserts that the Supreme Court has “long held the view that

there is a crucial difference, with respect to constitutional analysis, between the gov-

ernment exercising ‘the power to regulate or license, as lawmaker,’ and the govern-

ment acting ‘as proprietor, to manage [its] internal operation.’ Id. at 598 (quoting

Cafeteria & Rest. Workers Union, Loc. 473 v. McElroy, 367 U.S. 886, 896 (1961)). In

context, this refers only to the government’s greater powers as an employer. But even

if construed to refer to all proprietorship, it doesn’t suggest that constitutional


   17 Compare, e.g., Commonwealth v. Davis, 39 N.E. 113, 113 (Mass. 1895) (Holmes, J., ma-

jority opinion) (“For the legislature absolutely or conditionally to forbid public speaking in a
highway or public park is no more an infringement of the rights of a member of the public
than for the owner of a private house to forbid it in his house.”), with Hague v. Comm. for
Indus. Org., 307 U.S. 496, 515-16 (1939) (“The privilege of a citizen of the United States to
use the [public] streets and parks for communication of views on national questions may be
regulated in the interest of all; . . . but it must not, in the guise of regulation, be abridged or
denied”).


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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 16 of 50 PageID #:4491




protections cease to be effective on public property. Reeves, Inc. v. Stake, 447 U.S. 429

(1980)—a case that applied the “market participant” exception to the Dormant Com-

merce Clause in allowing a state-owned enterprise to discriminate in favor of its own

citizens—is inapposite. That a state-owned enterprise is exempt from limitations im-

posed by one part of the Constitution concerned with federalism says nothing about

whether it is bound to respect individual rights.

   Finally, and decisively, whatever is true elsewhere in the law, Ms. Foxx’s proposed

framework contradicts Bruen, which rejects the relevance of place to the threshold

question of whether certain conduct is covered by the Second Amendment. See Bruen,

597 U.S. at 32 (“Nothing in the Second Amendment’s text draws a home/public dis-

tinction with respect to the right to keep and bear arms.”); see also Oakland Tactical

Supply, LLC v. Howell Township, 103 F.4th 1186, 1201-02 (6th Cir. 2024) (Kethledge,

J., dissenting) (“Thus—as described by the Court—the Second Amendment guaran-

tees (1) to law-abiding citizens (2) a right to keep and bear arms (3) in common usage

(4) for purposes of ‘confrontation’ (or ‘self-defense’).”). If the fact of government own-

ership is relevant to the constitutionality of the Firearm Concealed Carry Act’s ban,

it can only enter the calculus at Bruen’s second step.

                                        *   *    *

   Perhaps recognizing the futility of the first argument, Ms. Foxx purports to clarify

(but in fact seems to change) her position in her reply brief. 18 She relies on the



   18 Waiting until the reply brief is reason enough to reject the argument. See James v.

Sheahan, 137 F.3d 1003, 1008 (7th Cir. 1998). Because this is ostensibly part of the same
argument Ms. Foxx presented in her opening brief, however, the Court still addresses it.


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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 17 of 50 PageID #:4492




ambiguity of the word proprietor. Rather than founding the argument for rational

basis review on the government’s ownership of property simply, the reply brief stakes

Ms. Foxx’s case on the latitude afforded to the government when it acts as a “market

participant”—that is, a proprietor in the sense of running an enterprise.

   She disavows the notion, propounded by her opening brief, that “the government

as proprietor argument” makes all “government-owned or controlled property ‘ex-

empt’ from the Second Amendment.” Dkt. 95 at 6; compare id. with Dkt. 68 at 3-4

(“One of the cornerstone principles of American law is that the owner or proprietor of

private property has an absolute right to exclude others from that property. . . . That

principle applies with equal force to the government . . . .”). Now, she says, only when

the government is “acting as a market participant” and managing its internal opera-

tions does lesser scrutiny kick in. Thus, she no longer relies on a putative categorical

exception from the Second Amendment’s ambit, but an exception from Bruen’s frame-

work of scrutiny within the Second Amendment’s scope.

   Although this is a slightly better argument than the last, it too must be rejected.

The argument falters at its major premise: that the lax standard of review employed

when the government exercises “managerial” authority 19—for instance, in regulating

nonpublic forums, making employment decisions, or prohibiting certain kinds of em-

ployee speech—applies in the Second Amendment context.




   19 See Robert C. Post, Between Governance and Management: The History and Theory of

the Public Forum, 34 UCLA L. Rev. 1713, 1782 (1987).


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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 18 of 50 PageID #:4493




   In the wake of Heller, it is true, the scope of government’s managerial power over

the Second Amendment was unclear. 20 And though the Supreme Court has not yet

explicitly addressed the issue, Bruen decisively rejected the means-end scrutiny char-

acteristic of other areas of constitutional law, describing the Second Amendment as

itself the product of a considered balancing “struck by the traditions of the American

people” that “elevates above all other interests the right of law-abiding, responsible

citizens” to use arms for self-defense. Id. at 26 (quoting Heller, 554 U.S. at 635). This

is fatal to Ms. Foxx’s argument. The justification of the lenient treatment afforded to

exercises of managerial power is precisely that kind of interest balancing—namely, a

concern for the government’s interest in efficiently carrying out its mission. See, e.g.,

Engquist, 553 U.S. at 598-600; Lee, 505 U.S. at 682-83; Lehman v. City of Shaker

Heights, 418 U.S. 298, 303-04 (1974).

   Bruen maintains that freestanding policy considerations, no matter how weighty,

cannot be invoked to defeat the right protected by the Second Amendment, strictly

insisting that all the relevant interest balancing was done at the Second Amend-

ment’s ratification. 597 U.S. at 26 (quoting Heller, 554 U.S. at 635). The right to bear

arms may be regulated only in the name of an interest that finds at least analogical




   20 See, e.g., Eugene Volokh, Implementing the Right to Keep and Bear Arms for Self-De-

fense: An Analytical Framework and a Research Agenda, 56 UCLA L. Rev. 1443, 1533 (2009)
(“Courts need to work out a government-as-proprietor doctrine for the right to bear arms
much as they have done for the freedom of speech.”). And some courts found that the fact of
property ownership did afford the government greater regulatory power. E.g., Bonidy v.
Postal Serv., 790 F.3d 1121, 1127 (10th Cir. 2015) (holding that government buildings were
categorically exempt from Second Amendment scrutiny, and in the alternative, that the gov-
ernment’s proprietary interest in a post office weighed heavily in favor of a ban on carrying
guns there in upholding it under intermediate scrutiny).


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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 19 of 50 PageID #:4494




support in the American tradition. See Rahimi, 144 S. Ct. at 1898 (describing how

Bruen requires that regulations be “consistent with the principles that underpin our

regulatory tradition” so that the “balance struck by the founding generation” is faith-

fully applied to “modern circumstances”). 21 It would turn Bruen on its head to default

to rational basis review when the government asserts an interest that it isn’t required

to demonstrate was part of the historical tradition of firearm regulation. Nearly 22

every district court to be confronted with similar arguments has rejected them. 23 This

Court likewise rejects them.


   21 Whether this should be conceived of as a finding (1) that the conduct at issue was not

part of the right to begin with, or (2) that the right was traditionally defeasible in the face of
the asserted interest, is ultimately inconsequential here; either way, the only way to justify
a regulation of conduct that falls prima facie within the Second Amendment is to point to an
analogous interest embodied in the regulatory tradition.
    22 One district court refused to enjoin a ban on bearing arms in “mass transit facilities

and in vehicles owned by the State [of Maryland]” on the ground that it constituted a permis-
sible sensitive-place restriction, while leaving open the possibility that the regulation might
also be justified by Maryland’s status as a “market participant.” Kipke v. Moore, 695 F. Supp.
3d 638, 655-56 (D. Md. 2023) (denying a motion for preliminary injunction); Kipke v. Moore,
Nos. GLR-23-1293, GLR-23-1295, 2024 U.S. Dist. LEXIS 137003, at *15-16 (D. Md. Aug. 2,
2024) (adopting the analysis for denying a preliminary injunction to grant summary judg-
ment). For this latter possibility, it relied on Bldg. & Const. Trades Council of the Metro. Dist.
v. Associated Builders & Contractors of Mass./R.I., Inc., 507 U.S. 218 (1993)—which held
that a state’s market activity was not preempted by the National Labor Relations Act as its
regulatory activity in the same area would be—and its assertion that a State may “manage
its own property when it pursues its purely proprietary interests . . . where analogous private
conduct would be permitted.” Id. at 231-32. Read in context, however, the court is not an-
nouncing a general principle, but only describing its statutory holding under the NLRA: that
only state regulation, and not “proprietary conduct” lawful for an equivalent private party,
was preempted by that federal statute. Id. at 232. So, Building & Construction Trades Coun-
cil provides little support for a general market-participant exception to the recognition of
individual rights.
    23 Koons v. Platkin, 673 F. Supp. 3d 515, 601 (D.N.J. 2023), appeal docketed, No. 23-2043

(3d Cir. Jan. 9, 2024) (“[T]he State is not exempt from recognizing the protections afforded to
individuals by the Constitution simply because it acts on government property.”); id. at 605
n.33 (rejecting the state’s “market participant” theory); Wolford v. Lopez, 686 F. Supp. 3d
1034, 1062 (D. Haw. 2023), appeal docketed, No. 23-16164 (9th Cir. June 21, 2024) (“Whether
the government acted as a proprietor may have been relevant when assessing Second



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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 20 of 50 PageID #:4495




    B.    First Amendment intermediate scrutiny

   Ms. Foxx also relies on Heller’s statement that the Second Amendment can protect

modern forms of arms in the same way that the First Amendment protects modern

forms of communication. Heller, 554 U.S. at 582. She cites examples of intermediate

scrutiny applied to content-neutral “time, place, or manner” restrictions. Take, for

example, Ms. Foxx’s reliance on Anderson v. Milwaukee County, 433 F.3d 975 (7th

Cir. 2006), in which the court found that the government’s interest in protecting bus

passengers (a captive audience) allowed it to restrict otherwise protected speech. 433

F.3d at 980. But the intermediate scrutiny standard applied to content-neutral “time,

place, or manner” restrictions is what Bruen unambiguously rejected. See Bruen, 597

U.S. at 22-24 (“Not only did Heller decline to engage in means-end scrutiny generally,

but it also specifically ruled out the intermediate-scrutiny test that respondents and

the United States now urge us to adopt.”). Ms. Foxx’s attempt to apply intermediate

scrutiny by treating the Firearm Concealed Carry Act’s ban as a “time, place, or man-

ner” restriction cannot succeed.




Amendment challenges under a means-end scrutiny test, but it has no place under the first
step of the Bruen analysis.”); United States v. Ayala, __ F. Supp. 3d __, No. 8:22-cr-369-KKM-
AAS, 2024 U.S. Dist. LEXIS 7326, at *41-43 (M.D. Fla. Jan. 12, 2024), appeal docketed, No.
24-10462 (11th Cir. May 7, 2024) (“The United States must point to a historical tradition
justifying any claimed power to regulate conduct protected by the Second Amendment's plain
text, even as a proprietor.”); May v. Bonta, __ F. Supp. 3d __, Nos. SACV 23-01696-CJC
(ADSx), SACV 23-01798-CJC (ADSx), 2023 WL 8946212, at *17 (C.D. Cal. Dec. 20, 2023),
appeal argued, No. 23-4356 (9th Cir. Apr. 11, 2024).


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  Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 21 of 50 PageID #:4496




III.        The Main Event (Bruen Analysis)

       A.     A disclaimer about “historical evidence”

       There’s one more matter to address before reaching the substantive Bruen analy-

sis. Bruen exemplifies the phrase “easier said than done.” It certainly left open a

plethora of procedural questions about how to conduct the historical inquiry. See, e.g.,

United States v. Daniels, 77 F.4th 337, 359-60 (5th Cir. 2023), vacated, __ S. Ct. __,

No. 23-376, 2024 U.S. LEXIS 2910 (July 2, 2024) (Higginson, J., concurring) (“More

foundationally, courts are laboring to give meaning to the Bruen requirement of ‘his-

torical inquiry.’ ”); Rahimi, 144 S. Ct. at 1927 & n.1 (Jackson, J., concurring) (collect-

ing cases). The Supreme Court has acknowledged the potential difficulty but provided

little guidance: “To be sure, ‘[h]istorical analysis can be difficult; it sometimes re-

quires resolving threshold questions, and making nuanced judgments about which

evidence to consult and how to interpret it.’ ” Bruen, 597 U.S. at 25 (alteration in

original) (quoting McDonald, 561 U.S. at 803-04 (Scalia, J., concurring)). And multi-

ple courts have expressed frustration at the process. See, e.g., Worth v. Harrington,

666 F. Supp. 3d 902, 917 (D. Minn. 2023), aff’d sub nom. Worth v. Jacobson, 108 F.4th

677, (8th Cir. 2024); United States v. Hill, No. 3:23cr114, 2023 U.S. Dist. LEXIS

211689, at *28-41 (E.D. Va. Nov. 28, 2023), appeal docketed, No. 24-4194 (4th Cir.

Apr. 8, 2024); see also Vidal v. Elster, 602 U.S. 286, 328 (2024) (Sotomayor, J., con-

curring) (“One need only read a handful of lower court decisions applying Bruen to

appreciate the confusion this Court has caused.”). Several data points support the

notion that Bruen’s analysis can be complicated. Here are just a few: (1) four justices

thought it was important to author concurring opinions in Rahimi, with a fifth justice


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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 22 of 50 PageID #:4497




joining one of those concurrences; (2) Justice Thomas—the author of Bruen—dis-

sented in Rahimi; and (3) eight justices reversed the Fifth Circuit’s unanimous deci-

sion and had “no trouble,” Rahimi, 144 S. Ct. at 1902, reaching the opposite conclu-

sion of the judges on the Fifth Circuit under the same framework.

   This case highlights one such question in the mix. The parties’ disputes over how

to proffer and use historical evidence exhibit the confusion occasioned by Bruen. Much

ink has been spilled about the nature of the evidence the Court can consider in con-

ducting the historical analysis required under Bruen, including what is an adjudica-

tive fact and what is a legislative fact. The Court has spent a considerable amount of

time considering the parties’ arguments. In its discretion, this order is based upon

what evidence the Court believes was properly proffered.

   The Court has discretion in determining whether a party has failed to comply with

Local Rule 56.1, but it must consider whether the party’s submission has adequately

complied with the purpose and intent of the rule or has impeded the rule’s effective-

ness. Cracco v. Vitran Express, Inc., 559 F.3d 625, 632 (7th Cir. 2009); see also Am-

mons, 368 F.3d at 817. In this case, because of the lack of clear guidance as to how to

treat the historical evidence required by Bruen’s framework, the Court doesn’t believe

that Plaintiffs’ noncompliance was an attempt to deceive Defendants or otherwise

gain an unfair advantage. They didn’t completely ignore Local Rule 56.1; Plaintiffs

compiled a statement of facts related to each individual plaintiff’s personal experi-

ence. Defendants have also responded to the historical matter presented by Plaintiffs

directly in their briefs, so Plaintiffs’ noncompliance doesn’t appear to have




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  Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 23 of 50 PageID #:4498




substantially changed Defendants’ arguments. And as stated previously, the Court

prefers to decide things based on evidence. Schoenthal, 2024 U.S. Dist. LEXIS 79497,

at *5. 24

    Having said all that, this Court will adhere to Justice Kavanaugh’s direction in

his concurrence in Rahimi. See Rahimi, 144 S. Ct. at 1923-24 (Kavanaugh, J., con-

curring). This Court will quit its bellyaching and get on with it.

     B.     Plain text of the Second Amendment

    The first step under Bruen is to determine whether the Second Amendment’s

“plain text” 25 covers the regulated conduct. Bruen, 597 U.S. at 17. Embedded within

this step is first defining Plaintiffs’ proposed course of conduct.




    24 The Court acknowledges that, even in considering the “full” record before it, historical

inquiries reliant on party presentation (not to mention potentially evolving views of history)
may lead to inconsistent results. Justice Scalia’s discussion of a pitfall in analyzing legislative
history rings true here:

    But not the least of the defects of legislative history is its indeterminacy. If one were
    to search for an interpretive technique that, on the whole, was more likely to confuse
    than to clarify, one could hardly find a more promising candidate than legislative his-
    tory. And the present case nicely proves that point.

    Judge Harold Leventhal used to describe the use of legislative history as the equiva-
    lent of entering a crowded cocktail party and looking over the heads of the guests for
    one's friends. If I may pursue that metaphor: The legislative history of [the statute at
    issue] contains a variety of diverse personages, a selected few of whom—its “friends”—
    the Court has introduced to us in support of its result. But there are many other faces
    in the crowd, most of which, I think, are set against today's result.

Conroy v. Aniskoff, 507 U.S. 511, 519 (1993) (Scalia, J., concurring); see also Vidal, 602 U.S.
at 327-28 (Sotomayor, J., concurring) (applying the comparison to “history-and-tradition in-
quir[ies]”).
    25 The Second Amendment reads: “A well regulated Militia, being necessary to the secu-

rity of a free State, the right of the people to keep and bear Arms, shall not be infringed.”
U.S. Const. amend. II.


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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 24 of 50 PageID #:4499




         1.    Proposed course of conduct

   Plaintiffs’ proposed course of conduct, which Defendants don’t dispute, is the li-

censed concealed carrying of handguns for self-defense on public transportation and

associated facilities. See Dkt. 71 ¶¶ 12-13, 20-21, 39.

   Note that this proposed conduct necessitates treating Plaintiffs’ challenge to the

Firearm Concealed Carry Act’s ban as an as-applied challenge, as they have not ar-

gued that any person who “knowingly carr[ies] a firearm” onto public transit (or as-

sociated real property), 430 ILCS 66/65(a), is presumptively protected by the plain

text of the Second Amendment. For example, the Firearm Concealed Carry Act

doesn’t consider one’s purpose in carrying a handgun on public transit, and so its

prohibition on carrying a handgun for purposes other than lawful self-defense would

not implicate the Second Amendment. 26 Because Plaintiffs have framed their



   26 And with even one constitutional application, a facial challenge to the statute fails. See

United States v. Salerno, 481 U.S. 739, 745 (1987). Plaintiffs argue that Salerno doesn’t apply
to this case. But the Supreme Court recently reiterated the applicability of Salerno to a facial
challenge under the Second Amendment. Rahimi, 144 S. Ct. at 1898 (“This is the ‘most diffi-
cult challenge to mount successfully,’ because it requires a defendant to ‘establish that no set
of circumstances exists under which the Act would be valid.’ ” (quoting Salerno, 481 U.S. at
745)).
    Ms. Foxx also argues that Plaintiffs’ facial challenge must fail because the Seventh Cir-
cuit, in Bevis v. City of Naperville, held that there is no Second Amendment protection for
“weapons that may be reserved for military use.” 85 F.4th 1175, 1194 (7th Cir. 2023), cert.
denied sub nom. Harrel v. Raoul, 144 S. Ct. 2491 (2024). Plaintiffs point out that they wish
to carry only handguns on public transit, but that misses the point of a facial challenge.
Plaintiffs also respond that “the statute indisputabl[y] refers generally to ‘firearms,’ not spe-
cifically to the category of arms Bevis held are unprotected.” Dkt. 87 at 12. This argument,
as it is articulated by Plaintiffs, doesn’t contend that “firearms” excludes military weapons.
Nor does their reliance on Heller’s silence help; Heller’s silence is not equivalent to rejection.
See In re Deere & Co. Repair Serv. Antitrust Litig., __ F. Supp. 3d __, No. 3:22-cv-50188, 2023
U.S. Dist. LEXIS 210516, at *37 (N.D. Ill. Nov. 27, 2023) (citing United States v. L.A. Tucker
Truck Lines, Inc., 344 U.S. 33, 38 (1952)); cf. United States v. Gay, 98 F.4th 843, 846 (7th Cir.
2024). But reading the text of the Firearm Concealed Carry Act is helpful. Although the



                                               24
 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 25 of 50 PageID #:4500




challenge in terms of how the Firearm Concealed Carry Act applies to them, the Court

proceeds accordingly. See Doe v. Reed, 561 U.S. 186, 194 (2010); Moody v. NetChoice,

LLC, 144 S. Ct. 2383, 2416 n.1 (2024) (Thomas, J., concurring) (“Federal courts are

free to consider challenged statutes as applied to the plaintiff before them and limit

any relief accordingly.”).

        2.    Text of the Second Amendment

   The Second Amendment guarantees the “right to possess and carry weapons in

case of confrontation.” Heller, 554 U.S. at 592. Naturally, Plaintiffs contend that their

proposed conduct is covered by the Second Amendment’s text. State Defendants ap-

pear to concede this point, but Ms. Foxx disagrees.

   She first argues that the Firearm Concealed Carry Act’s ban doesn’t “infringe” on

Plaintiffs’ right to keep and bear arms, and so their proposed conduct and its violation

of the ban don’t fall under the Second Amendment’s protection. She compares the

definitions of “infringe” and “abridge” (from the First Amendment), relying on dic-

tionary definitions from 1755 and 1773 to argue that “infringe” must denote a total

destruction of a right—more than a mere “abridgement.” But both of these words

have multiple definitions, and Ms. Foxx cherry-picks the definitions to suit her argu-

ment. In particular, the second definition for “infringe” reads in full: “To destroy; to

hinder.”     Infringe,   v.a.    (1773),    Samuel      Johnson’s     Dictionary     Online,



statute doesn’t define “firearm” on its own, a “concealed firearm” is defined as a “loaded or
unloaded handgun,” and “handgun” is defined as a one-handed gun excluding stun guns or
tasers, machine guns, short-barreled rifles or shotguns, and specific pneumatic guns, spring
guns, paintball guns, and BB guns. 430 ILCS 66/5. This definition doesn’t appear to allow for
the military weapons contemplated by Bevis, so this is not a basis on which Plaintiffs’ facial
challenge fails.


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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 26 of 50 PageID #:4501




https://johnsonsdictionaryonline.com/views/search.php?term=infringe (last visited

Aug. 30, 2024). But she omits “to hinder”—which wouldn’t require completely ob-

structing the right—without any explanation. Merriam-Webster’s definition likewise

doesn’t require wholesale destruction—“to encroach upon in a way that violates law

or the rights of another”—and it notes that “infringe” was first used with that mean-

ing in 1513. Infringe Definition & Meaning, Merriam-Webster, https://www.merriam-

webster.com/dictionary/infringe (last updated Aug. 20, 2024).

   Other courts have agreed with this more modest—and plain—reading of “in-

fringe.” See, e.g., Frein v. Pa. State Police, 47 F.4th 247, 254 (3d Cir. 2022) (“[The

Second Amendment] also forbids lesser ‘violat[ions]’ that ‘hinder’ a person’s ability to

hold on to his guns.” (citations omitted)); Md. Shall Issue, Inc. v. Moore, 86 F.4th

1038, 1044 n.8 (4th Cir. 2023), reh’d en banc, __ F.4th __, 2024 U.S. App. LEXIS 21378

(4th Cir. Aug. 23, 2024) (“[T]his stilted construction of the word ‘infringed’ lacks

grounding in original meaning, history, and Bruen itself.”). 27 And Bruen itself in-

volved a regulation that didn’t wholly ban individuals from possessing firearms—it

was a licensing scheme. Bruen, 597 U.S. at 11-12. “Infringe” doesn’t mean what Ms.

Foxx says it means.

   Ms. Foxx next argues that the Second Amendment doesn’t cover Plaintiffs’ pro-

posed conduct because using a firearm on a crowded and confined public transit ve-

hicle would result in more force than necessary for lawful self-defense, citing two




   27 The Fourth Circuit did not address this issue after the case was reheard en banc.




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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 27 of 50 PageID #:4502




inapposite cases. 28 Even if the Second Amendment’s reach were limited by that prin-

ciple of self-defense, 29 Ms. Foxx fails to show how that limitation applies to the facts

of this case beyond the unsubstantiated assertion that “there are few if any circum-

stances” where someone could discharge a firearm in a public transportation vehicle

without endangering a third party. Dkt. 86 at 16.

    C.     Potential historical analogues

   Because Plaintiffs’ proposed conduct falls under the plain text of the Second

Amendment, the conduct is presumptively protected. Bruen, 597 U.S. at 17. The sec-

ond step is determining whether the regulation is consistent with the historical tra-

dition of firearm regulation in this country. Id. Defendants bear the burden in this

regard. As to how they can meet that burden, Bruen examined historical regulations

as potential analogues, focusing on why and how regulations burdened the right to

armed self-defense. See id. at 29. In addition to engaging in that mode of analogical

analysis, the parties argue for other approaches potentially left open by Bruen.




   28 Both cases assert that one may not use more force than necessary to repel an attacker.

Fowler v. O’Leary, No. 87 C 6671, 1993 U.S. Dist. LEXIS 3554, at *34 (N.D. Ill. Mar. 19, 1993)
(“Illinois law does not readily accept a claim of self-defense when the defendant provokes the
incident, uses force greater than necessary to ward off the imminent danger, or uses force
when he could have avoided the situation.”); People v. Morgan, 719 N.E.2d 681, 700 (Ill. 1999)
(requiring that a person “reasonably believe[]” that the force used “is necessary to prevent
imminent death or great bodily harm”). But these cases plainly say nothing about Ms. Foxx’s
proposed principle—that one may not defend oneself if the force to be used would collaterally
injure third parties.
     29 In Heller, the Supreme Court was careful to “not read the Second Amendment to protect

the right of citizens to carry arms for any sort of confrontation,” 554 U.S. at 594, but it offered
no further guidance as to what confrontations don’t count. See Heller, 554 U.S. at 720 (Breyer,
J., dissenting). We do know, however, that the Second Amendment draws no location-based
home–public distinction. See Bruen, 597 U.S. at 4; see also Oakland Tactical Supply, 103
F.4th at 1202-03 (Kethledge, J., dissenting).


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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 28 of 50 PageID #:4503




   The parties start by disagreeing over whether public transportation existed at the

Founding. But whether there’s anything from 1791 that might appropriately be la-

beled “public transportation” isn’t a silver bullet that shortcuts Bruen’s framework.

Even if there were something that could rightly be described as a form of transporta-

tion funded by the public at the time of the Second Amendment’s ratification, how

firearms were regulated there (if at all) wouldn’t necessarily determine whether or

how they can be regulated somewhere fitting that same description today. Regulation

of today’s public transportation may implicate different justifications or impose dif-

ferent burdens on the Second Amendment right based on public transportation’s role

in society. In other words, the how and why of such a regulation might be very differ-

ent. Metra trains and CTA buses obviously didn’t exist then, so resolving the permis-

sibility of Illinois’ law requires some degree of analogical reasoning. See Bruen, 597

U.S. at 27-28. 30

   So as to not bury the lede, the Court finds that Defendants have failed to meet

their burden. That failure is dispositive. Still, mindful of the Seventh Circuit’s di-

rective to develop a full record in the trial court, the Court will address the parties’

many arguments relating to historical analogues and other possible approaches to

analyze the constitutionality of the Firearm Concealed Carry Act’s prohibition

against carrying concealed firearms on public transportation.


   30 The parties (and some courts) have labeled this the “nuanced” historical approach,

based on Bruen’s language that “cases implicating unprecedented societal concerns or dra-
matic technological changes may require a more nuanced approach.” Bruen, 597 U.S. at 28.
Like Modell in Diner, the Court isn’t comfortable with the word “nuance.” Nevertheless, ra-
ther than transform an adjective into its own doctrine, this Court sees the “nuanced” ap-
proach as a difference in degree as to how much analogizing must be done.


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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 29 of 50 PageID #:4504




        1.        Historical regulations

   The approach demonstrated by Bruen (and by Rahimi) for assessing the constitu-

tionality of a challenged regulation is to compare it with historical regulations. The

Court understands this process involves several discrete steps. First, there is the fac-

tual question of whether the historical regulation exists. Next, the Court must deter-

mine how much weight, if at all, the historical regulation has in this inquiry. See

Bruen, 597 U.S. at 34 (“We categorize these historical sources because, when it comes

to interpreting the Constitution, not all history is created equal.”). If the vetted his-

torical regulations disclose some principle underpinning the tradition of firearm reg-

ulation in this country, then the Court can compare the challenged regulation in this

case to the historical regulations. See id. at 29-30; see also Rahimi, 144 S. Ct. at 1898.

In determining whether the regulations are “relevantly similar,” “how and why the

regulations burden a law-abiding citizen’s right to armed self-defense” are “central”

considerations. Bruen, 597 U.S. at 29; Rahimi, 144 S. Ct. at 1898.

             a.      Regulation of crowded spaces (Statute of Northampton)

   Defendants cite the Statute of Northampton 1328, 2 Edw. 3 c. 3 (Gr. Brit.), and

similar state laws patterned after it. Bruen rejected the Statute of Northampton as

an analogue justifying a general ban on public carry. See 597 U.S. at 40-41. State

Defendants, relying on Antonyuk v. Chiumento, 89 F.4th 271, 357 n.74 (2d Cir. 2023),

vacated sub nom. Antonyuk v. James, __ S. Ct. __, No. 23-910, 2024 U.S. LEXIS 2929

(2024), 31 argue that the statute, accompanied by the similar state statutes, provides


   31 Antonyuk was vacated “for further consideration in light of United States v. Rahimi,

602 U.S. __ (2024).” 2024 U.S. LEXIS 2929, at *1.


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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 30 of 50 PageID #:4505




support for the narrower proposition that bearing arms may be restricted in crowded

places like fairs and markets.

   Plaintiffs’ response to this argument draws on two reasons that Bruen deemed the

Statute of Northampton to not be probative in that case. First, they argue that the

Statute of Northampton is too old and should therefore be afforded no weight in as-

certaining an American tradition. Bruen, 597 U.S. at 41 (“[T]he Statute of Northamp-

ton—at least as it was understood during the Middle Ages—has little bearing on the

Second Amendment adopted in 1791.”). State Defendants address this issue by citing

the later state statutes that were based on the Statute of Northampton. This includes

two commonwealth/state statutes from the Founding era: one from Virginia and one

from North Carolina. 32

   Defendants also present Reconstruction-era statutes from three states—Tennes-

see, Texas, and Missouri—and two territories—Oklahoma, and Arizona. 33 Plaintiffs’

response to these statutes amounts to “too little, too late”—they argue that they are

outliers and not old enough to be probative of the meaning of the Second Amendment.

But Bruen didn’t foreclose using such later-in-time laws to show the continuation of



   32 Act of Oct. 16, 1786, ch. 49, 1786 Va. Acts 35 (forbidding and punishing affrays); A

Collection of the Statutes of the Parliament of England in Force in the State of North-Carolina
60-61 (François-Xavier Martin ed., 1792). Plaintiffs argue that the North Carolina law was
never in force. This doesn’t affect the Court’s analysis, so there is no need to address this
factual dispute now.
    33 Act of June 11, 1870, ch. 13, 1870 Tenn. Pub. Acts 28 (preserving the peace and pre-

venting homicide); Act of Aug. 12, 1870, ch. 49, 1870 Tex. Gen. Laws 63 (regulating the right
to keep and bear arms); Act of Mar. 5, 1883, sec. 1, § 1274, 1883 Mo. Laws 76; Acts, Resolu-
tions and Memorials of the Fifteenth Legislative Assembly of the Territory of Arizona 30-31
(Prescott 1889) (defining and punishing certain offenses against the public peace); The Stat-
utes of Oklahoma, 1890, at 495 (Will T. Little et al. ed., Guthrie, The State Capital Printing
Co. 1891) (Territory of Oklahoma Penal Code, article 47).


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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 31 of 50 PageID #:4506




a tradition from before the Founding. See Bruen, 597 U.S. at 65-68 (rejecting postbel-

lum and territorial laws because they “contradict[] the overwhelming weight of other

evidence”). Defendants present these statutes in that light: to show a “ ‘long, unbro-

ken line,’ beginning from medieval England and extending beyond Reconstruction,”

of the regulation of firearms in crowded public forums. Antonyuk, 89 F.4th at 358

(quoting Bruen 142 S. Ct. at 2136).

   Even granting the existence of such a longstanding tradition, however, that

doesn’t address Plaintiffs’ second response to these laws—that they aren’t appropri-

ate analogues because why they burdened the right to armed self-defense is not suf-

ficiently similar. 34 Bruen found that the Statute of Northampton wasn’t a general ban

on bearing weapons; instead, the offense was arming oneself to terrify others. Bruen,

597 U.S. at 43-44. 35 This language is also reflected in the corresponding state


   34 The Court acknowledges that it is using a double negative. But the Court is using the

double negative because describing the why as “different” doesn’t seem quite right. See Susan
Thurman, The Only Grammar Book You’ll Ever Need 93-94 (2003) (“One exception to the rule
of avoiding double negatives is when you intend a positive or lukewarm meaning.”). And, at
the risk of sending grammar geeks into a tither (or a dither), not all double negatives create
a positive. See Flores v. Minnesota, 906 F.2d 1300, 1302 (8th Cir. 1990) (“The instruction
states that there is ‘no presumption’ an intoxicated person was ‘incapable’ of premedita-
tion . . . . The double negative here does not create a positive. The instruction simply tells the
jury not to rule out the possibility of premeditation merely because Flores had been drinking:
they should still consider whether or not he was capable of premeditation, and whether he in
fact premeditated the killing.”).
    35 Rahimi implies the same requirement of an intent to terrify others (and potentially

other elements, like using dangerous or unusual weapons). See Rahimi, 144 S. Ct. at 1901
(“Whether classified as an affray law or a distinct prohibition, the going armed laws prohib-
ited riding or going armed, with dangerous or unusual weapons, to terrify the good people of
the land. Such conduct disrupted the public order and led almost necessarily to actual vio-
lence.” (cleaned up) (citations omitted)).
    On the other hand, one of Defendants’ experts, Dr. Brennan Rivas, notes that some schol-
ars have found that these laws didn’t require an intent element to terrorize others, and that
carrying deadly weapons was inherently terrifying. Dkt. 64-11 at 20 n.57. Although this is at



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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 32 of 50 PageID #:4507




statutes. For example, the Virginia statute states that nobody shall “ride armed by

night nor by day, in fairs or markets, or in other places, in terror of the county.” Ch.

49, 1786 Va. Acts 35; see also Rahimi, 144 S. Ct. at 1901. Plaintiffs wish to carry

concealed arms in self-defense, so the Firearm Concealed Carry Act’s ban burdens

Plaintiffs’ Second Amendment right for a wholly different reason than the Statute of

Northampton and similar state statutes did. The why is different. A concealed arm

doesn’t terrorize; it’s concealed. Consequently, these historical laws do not serve as

an appropriate historical analogue.

            b.    The Black Act

   Ms. Foxx also attempts to find a historical analogue in the Black Act 1723, 9 Geo.

1 c. 22 (Gr. Brit.), which prohibited the carrying of weapons in forests and on roads if

the bearer’s face was disguised. But Ms. Foxx doesn’t present any evidence that the

attitudes reflected in the Black Act carried over into “this Nation’s historical tradition

of firearm regulation.” Bruen, 597 U.S. at 17 (emphasis added). Without some evi-

dence the Black Act reflects American attitudes at the time the Second Amendment

was adopted, it cannot support the Firearm Concealed Carry Act’s ban. See id. at 34-

35, 39 (noting that it’s less helpful “to rely on an ‘ancient’ practice that had become

‘obsolete in England at the time of the adoption of the Constitution’ and never ‘was




odds with Bruen’s interpretation, Bruen had a different record before it. See Bruen, 597 U.S.
at 45 (“Respondents do not offer any evidence showing that, in the early 18th century or after,
the mere public carrying of a handgun would terrify people.”). Although reliance on party
presentation in compiling a historical record would seem to allow for evolving understandings
of history, Defendants don’t offer evidence that the act of carrying a concealed handgun in
public was alone sufficient to be considered terrifying, so the Court accepts Bruen’s under-
standing of these statutes.


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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 33 of 50 PageID #:4508




acted upon or accepted in the colonies.’ ” (quoting Dimick v. Schiedt, 293 U.S. 474,

477 (1935))). 36

            c.     Concealed-carry laws

   Ms. Foxx then argues that 19th century laws from Tennessee, Texas, and Arkan-

sas 37 show a tradition of regulating concealed firearms. 38 Plaintiffs’ individual re-

sponses to the Tennessee and Arkansas statutes are that the statutes support Plain-

tiffs’ position because of an exception for travelers. The Court sets that aside for now,

as the exception matters only if the laws establish a historical tradition of banning

concealed firearms in the first place.



   36 Even if the Black Act were to disclose some tradition, it’s not “relevantly similar” to the

ban, both in why and how the right to armed self-defense is burdened. The Black Act was
enacted to prosecute gangs (seemingly inspired by Robin Hood) that operated from nearby
forests (and roads). L. Radzinowicz, The Waltham Black Act: A Study of the Legislative Atti-
tude Towards Crime in the Eighteenth Century, 9 Cambridge L.J. 56, 56-58 (1945); Pat Rog-
ers, The Waltham Blacks and the Black Act, 17 Hist. J. 465, 467 (1974). The act’s name shows
that it was primarily concerned with who rather than where—the gang members were known
as the “Blacks” because of how they obscured (“blackened”) their faces. See Rogers, supra, at
468-69. At a very high level of generality, perhaps the two acts are similar in their motivation
to keep public order. But though the Black Act contains a place restriction, it’s inextricably
coupled with the condition that one has disguised their face, because it was targeted at a
specific group of people known to have an unlawful purpose in carrying weapons. The justi-
fication behind the Black Act is different from the Firearm Concealed Carry Act’s ban, and
the Black Act forbade people from carrying guns on roads only if they were masked, a condi-
tion not present in Illinois’ ban. So, again, the how and why are different.
     37 Act of Apr. 12, 1871, ch. 34, 1871 Tex. Gen. Laws 25 (regulating the keeping and bearing

of deadly weapons); Act of Oct. 19, 1821, ch. 13, 1821 Tenn. Pub. Acts 15 (preventing the
wearing of dangerous and unlawful weapons); Revised Statutes of the State of Arkansas
Adopted at the October Session of the General Assembly of Said State, A.D. 1837, at 280 (Wil-
liam McK. Ball & Sam. C. Roane, eds., Boston, Weeks, Jordan and Company 1838).
     38 Ms. Foxx lists a Louisiana statute in her statement of facts, but she doesn’t reference

it in her memorandum of law supporting her motion for summary judgment. Because it’s not
mentioned in her legal argument, the Court doesn’t consider the Louisiana law in its analysis.
See generally LR 56.1(a); Bruen, 597 U.S. at 25 n.6. In addition, Ms. Foxx says in her reply
that she also cites Alabama law, but the only reference to Alabama law in her opening mem-
orandum concerns the meaning of “journey” underlying the traveler exception, rather than
the statute itself.


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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 34 of 50 PageID #:4509




   Plaintiffs rely on Bruen to discount the relevance of the Texas statute in estab-

lishing a historical tradition. Bruen examined an 1871 Texas law that required “rea-

sonable grounds for fearing an unlawful attack on his person” to carry a pistol, and it

deemed the statute (along with two Texas Supreme Court cases analyzing the consti-

tutionality of the statute) to be outliers, “provid[ing] little insight into how postbellum

courts viewed the right to carry protected arms in public.” Bruen, 497 U.S. at 64-65.

Ms. Foxx’s only counter in her reply brief is that the New York law in Bruen had

broader restrictions than the Firearm Concealed Carry Act’s ban. Although it’s true

that this case involves looking for different analogues than Bruen did, that doesn’t

provide a reason to challenge Bruen’s finding that 1870s Texas was an outlier in its

view of the right to bear arms.

    Plaintiffs also respond with two general arguments concerning the Texas and Ar-

kansas statutes: (1) the laws are too recent, and (2) the laws aren’t sufficiently wide-

spread. 39 As for the first argument—that 19th century laws cannot independently

demonstrate the scope of the Second Amendment—Bruen shied away from any defin-

itive statement on the matter. Id. at 37-38 (“We also acknowledge that there is an

ongoing scholarly debate on whether courts should primarily rely on the prevailing

understanding of an individual right when the Fourteenth Amendment was ratified

in 1868 when defining its scope (as well as the scope of the right against the Federal



   39 Plaintiffs grouped the statutes by time period in their response, so the 1821 Tennessee

statute was sorted into the Founding era bucket—separate from the mid to late 19th century
bucket where Plaintiffs addressed the Texas and Arkansas statutes. The Court isn’t sure
what cutoff Plaintiffs have created to deny Arkansas’ 1837 law the “Founding era” label and
instead count it as “mid”-19th century.


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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 35 of 50 PageID #:4510




Government). We need not address this issue today . . . .” (citations omitted)). Rahimi

similarly sidestepped the issue. See Rahimi, 144 S. Ct. at 1898 n.1; id. at 1929 n.4

(Jackson, J., concurring); id. at 1933 n.2 (Thomas, J., dissenting). Contrary to Plain-

tiffs’ characterization, lower courts still must deal with the ambiguity.

   As a result, this Court disagrees with Plaintiffs that Bruen mandates automati-

cally writing off any law from the Reconstruction era. Bruen may have cautioned

“against giving postenactment history more weight than it can rightly bear,” but it

also recognized that evidence of how the Second Amendment was interpreted

“through the end of the 19th century” can be a “critical tool of constitutional interpre-

tation.” Bruen, 597 U.S. at 35-36 (quoting Heller, 554 U.S. at 605). The potential rel-

evance of evidence through the late 19th century is underscored by the fact that this

case concerns determining the historical view of public carry—after all, “the public

understanding of the right to keep and bear arms in both 1791 and 1868 was, for all

relevant purposes, the same with respect to public carry.” Id. at 38.

   That leaves Plaintiffs’ argument that the statutes aren’t sufficiently widespread. 40

As discussed above, Bruen disregarded the Texas statute as an outlier, and Ms. Foxx

provides nothing to the contrary. This Court follows Supreme Court precedent. Left

with only the Tennessee and Arkansas statutes, Defendants have failed to meet their

burden of showing a national tradition. Bruen suggests that only two or three regu-

lations often won’t be sufficient—it discounted Texas as an outlier despite West


   40 Although Plaintiffs’ brief was organized such that this response wasn’t directed at the

Tennessee statute, the Court finds it more sensible to include Tennessee in this part of the
discussion. To artificially separate similar laws and then attack a subset as not sufficiently
widespread isn’t a logical way to approach the argument.


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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 36 of 50 PageID #:4511




Virginia’s similar provision, and it “doubt[ed] that three colonial regulations could

suffice to show a tradition of public-carry regulation.” Id. at 46, 65. This isn’t to say

that simply looking at the number of states is enough to exclusively conclude that

there wasn’t a tradition, as Plaintiffs seem to imply, 41 but Defendants have failed to

meet their burden under the facts of this case. With that, there’s no need to discuss

the so-called “traveler exception” in the context of Ms. Foxx’s motion for summary

judgment.

            d.    Railroads

   State Defendants present restrictions by railroad companies across the country in

the late 19th century. 42 Some of these restrictions merely required that passengers

keep their firearms unloaded and in their bags, while others barred firearms com-

pletely. Plaintiffs respond that these railroad companies were private entities and so




   41 Regarding what’s a widespread tradition versus just a few outliers, Plaintiffs don’t do

much to actually apply the reasoning in Bruen to the facts in this case, but the Court can
certainly imagine some relevant factors that might have been helpful to this analysis, such
as the geographic regions represented by the state regulations or the impact of migration
patterns on cultural norms. One might even consider when the particular states joined the
Union, although the emphasis on Founding-era statutes may already take that into account
by proxy, as it consequently puts more focus, to some extent, on the original thirteen states.
Bruen’s discussion of sensitive places and the lack of historical evidence suggests that there
are times when only two or three regulations might be sufficient, but it’s unclear if Bruen
meant for that logic to apply beyond the “sensitive places” inquiry (nor does Ms. Foxx argue
this as a reason for construing only a few state statutes as a widespread tradition).
    42 They argue that these railroad restrictions are a continuation of the tradition of regu-

lating public forums and crowded places, as established by the Statute of Northampton and
similar state statutes. However, as explained above, the tradition of regulation established
by that line of statutes addressed public carry for the purpose of terrorizing others. So if the
railroad restrictions are a continuation of this tradition, then they also cannot be an appro-
priate analogue for this case. But the railroad restrictions don’t have the same wording about
inflicting terror, so the Court treats these as a separate source for a potential analogue.


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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 37 of 50 PageID #:4512




the restrictions aren’t relevant under Bruen, that the restrictions aren’t old enough,

and that the restrictions aren’t sufficiently widespread.

   The Court agrees that the private nature of these restrictions defeats State De-

fendants’ attempt to show a national tradition that would support the Concealed

Carry Act’s prohibition. The Second Amendment protects against governmental—not

private—intrusion on rights and liberties. See Rahimi, 144 S. Ct. at 1897. 43

        2.    Sensitive places

   Defendants also levy arguments under Bruen’s directive that analogies to “sensi-

tive places” can establish whether laws are constitutionally permissible. The discus-

sion of sensitive places starts with this language in Heller:

   Although we do not undertake an exhaustive historical analysis today of the
   full scope of the Second Amendment, nothing in our opinion should be taken to
   cast doubt on longstanding prohibitions on the possession of firearms by felons
   and the mentally ill, or laws forbidding the carrying of firearms in sensitive
   places such as schools and government buildings, or laws imposing conditions
   and qualifications on the commercial sale of arms.

Heller, 554 U.S. at 626-27. Heller also added in a footnote: “We identify these pre-

sumptively lawful regulatory measures only as examples; our list does not purport to




   43 The Court sees the opening that State Defendants have identified. Heller and Bruen

both included the assurance that schools could still constitutionally restrict firearms as sen-
sitive places, considering that there were no public schools at the Founding. However, it’s
above this Court’s pay grade to infer from the Supreme Court’s silence that private re-
strictions alone can establish a historical tradition of regulation. Neither Heller nor Bruen
explained why restrictions in schools are constitutional. See Heller, 554 U.S. at 626-27;
Bruen, 597 U.S. at 30. The Court has enough trouble applying what the Supreme Court did
say in Heller and Bruen; it’s loath to attempt to apply the Supreme Court’s silence. What’s
more, it certainly can’t infer the Supreme Court’s silence in favor of Defendants when they
bear the burden.


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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 38 of 50 PageID #:4513




be exhaustive.” Id. at 627 n.26. Bruen then turned this unremarkable use of the word

“sensitive” into its own vehicle of analogical reasoning:

   Consider, for example, Heller’s discussion of “longstanding” “laws forbidding
   the carrying of firearms in sensitive places such as schools and government
   buildings.” 554 U. S. at 626. Although the historical record yields relatively few
   18th- and 19th-century “sensitive places” where weapons were altogether pro-
   hibited—e.g., legislative assemblies, polling places, and courthouses—we are
   also aware of no disputes regarding the lawfulness of such prohibitions. See D.
   Kopel & J. Greenlee, The “Sensitive Places” Doctrine, 13 Charleston L. Rev.
   205, 229-236, 244-247 (2018); see also Brief for Independent Institute as Ami-
   cus Curiae 11-17. We therefore can assume it settled that these locations were
   “sensitive places” where arms carrying could be prohibited consistent with the
   Second Amendment. And courts can use analogies to those historical regula-
   tions of “sensitive places” to determine that modern regulations prohibiting the
   carry of firearms in new and analogous sensitive places are constitutionally
   permissible.

Bruen, 597 U.S. at 30. This Court views the “sensitive places” doctrine as but one

method for demonstrating a historical analogue. Earlier, the Court analyzed the par-

ties’ arguments regarding whether a historical tradition existed and whether the his-

torical regulations part of that tradition were analogous to the Firearm Concealed

Carry Act’s ban today. The “sensitive places” doctrine merely provides a shortcut for

the former because the Supreme Court has stated there to be a longstanding tradition

of prohibiting firearms in sensitive places. 44

   Bruen offers no insight as to what common thread might tie these sensitive places

together, assuming a common thread is needed among these to support an analogy.


   44 Some courts have characterized it as an exception to the general Bruen framework. See,

e.g., Wolford, 686 F. Supp. 3d at 1049. Courts often refer to different analyses as “exceptions”
even though they really aren’t. See In re Deere, 2023 U.S. Dist. LEXIS 210516, at *32 n.12
(citing Paper Sys. v. Nippon Paper Indus. Co., 281 F.3d 629, 632 (7th Cir. 2002)). This Court
might disagree on the label, but the approach is still substantively the same.


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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 39 of 50 PageID #:4514




See, e.g., Bruen, 597 U.S. at 114 (Breyer, J., dissenting) (noting the ambiguity and

wondering where “the many locations in a modern city with no obvious 18th- or 19th-

century analogue” such as “subways, nightclubs, movie theaters, and sports stadi-

ums” fall); see also, e.g., Heller, 554 U.S. at 721 (Breyer, J., dissenting) (“Why these?”).

Courts are left to guess if the location is sensitive because of what occurs at the loca-

tion, who is present at the location, how many people are present at the location, or

some other consideration. The only hint that Bruen provides is that Manhattan is not

a “sensitive place”:

   Although we have no occasion to comprehensively define “sensitive places” in
   this case, we do think respondents err in their attempt to characterize New
   York’s proper-cause requirement as a “sensitive-place” law. In their view, “sen-
   sitive places” where the government may lawfully disarm law-abiding citizens
   include all “places where people typically congregate and where law-enforce-
   ment and other public-safety professionals are presumptively available.” Brief
   for Respondents 34. It is true that people sometimes congregate in “sensitive
   places,” and it is likewise true that law enforcement professionals are usually
   presumptively available in those locations. But expanding the category of “sen-
   sitive places” simply to all places of public congregation that are not isolated
   from law enforcement defines the category of “sensitive places” far too broadly.
   Respondents’ argument would in effect exempt cities from the Second Amend-
   ment and would eviscerate the general right to publicly carry arms for self-
   defense that we discuss in detail below. See Part III-B, infra. Put simply, there
   is no historical basis for New York to effectively declare the island of Manhat-
   tan a “sensitive place” simply because it is crowded and protected generally by
   the New York City Police Department.

Bruen, 597 U.S. at 30-31.

   The task before this Court is to decipher whether public transit can be analogous

to schools or government buildings (including legislative assemblies, polling places,

and courthouses), or to some other sensitive place if Defendants are able to identify



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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 40 of 50 PageID #:4515




one. 45 The Court found only a handful of other courts that have considered the issue

of how to analogize to the established “sensitive places” (and none that have explicitly

extended the list of sensitive places). For example, some courts concluded that play-

grounds and other adjoining school grounds are analogous to schools—a seemingly

straightforward analysis. Siegel v. Platkin, 653 F. Supp. 3d 136, 151 (D.N.J. 2023);46

Kipke, 695 F. Supp. 3d at 650; Kipke, 2024 U.S. Dist. LEXIS 137003, at *15-16;

Springer, 2023 U.S. Dist. LEXIS 217447, at *23-24; We The Patriots, Inc. v. Grisham,

697 F. Supp. 3d 1222, 1237 (D.N.M. 2023), appeal docketed, No. 23-2166 (10th Cir.

Mar. 11, 2024). In a similar vein, childcare facilities have also been deemed “sensi-

tive.” Md. Shall Issue, 680 F. Supp. 3d at 584. 47



   45 Plaintiffs insist that Bruen didn’t endorse “government buildings” generally or “schools”

as sensitive places, but that is based on a strained reading of Bruen’s language. See also
Bruen, 597 U.S. at 81 (Kavanaugh, J., concurring) (quoting Heller to emphasize that
“[p]roperly interpreted, the Second Amendment allows a ‘variety’ of gun regulations”). Other
district courts also disagree with Plaintiffs, either implicitly by analogizing to schools or ex-
plicitly rejecting the argument. E.g., Kipke, 695 F. Supp. 3d at 650; United States v. Robert-
son, No. 22-po-867-GLS, 2023 U.S. Dist. LEXIS 4998, at *12-13 (D. Md. Jan. 9, 2023); Md.
Shall Issue, Inc. v. Montgomery County, 680 F. Supp. 3d 567, 584 (D. Md. 2023), appeal dock-
eted, No. 23-1719 (4th Cir. Feb. 22, 2024); Springer v. Grisham, __ F. Supp. 3d __, No. 1:23-
cv-00781 KWR/LF, 2023 U.S. Dist. LEXIS 217447, at *23-24 (D.N.M. Dec. 5, 2023), appeal
docketed, No. 23-2194 (10th Cir. Mar. 25, 2024). Only one district court takes such a narrow
reading of Bruen, arguing that Bruen’s “these locations” refers only to legislative assemblies,
polling places, and courthouses based on the grammatical rule that pronouns “generally” re-
fer back to the nearest antecedent. Ayala, 2024 U.S. Dist. LEXIS 7326, at *36. But that logic
breaks down in Bruen’s next sentence. Bruen instructs courts to analogize to “those historical
regulations of ‘sensitive places’ ”—and “those” modifies “regulations” not “sensitive places,”
so it refers back to “such prohibitions,” which in turn refers back to the “longstanding” laws
discussed by Heller. See Bruen, 597 U.S. at 30 (quoting Heller, 554 U.S. at 626). This is a
convoluted and pedantic way of saying that the Court finds it appropriate to analogize to
government buildings and schools.
    46 In a subsequent ruling (that is on appeal), the court maintained its position regarding

school playgrounds. Koons, 673 F. Supp. 3d at 639.
    47 The use of a public space for educating children may be seen as analogous to schools,

even if the space isn’t exclusively for children. Lafave v. County of Fairfax, No. 1:23-cv-1605



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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 41 of 50 PageID #:4516




   Courts have also considered whether buffer zones (e.g., a 1000-foot radius) around

sensitive places are susceptible of the same treatment as the sensitive places them-

selves. One court found so. United States v. Walter, No. 3:20-cr-0039, 2023 U.S. Dist.

LEXIS 69163, at *21-23 (D.V.I. Apr. 20, 2023). Another found the opposite, because

the buffer zone around a school zone contained non-school property. United States v.

Allam, 677 F. Supp. 3d 545, 560-62 (E.D. Tex. 2023). Yet another court specified that

only the public locations within a buffer zone were sensitive and that private property

within a buffer zone wasn’t a sensitive location. United States v. Metcalf, No. CR 23-

103-BLG-SPW, 2024 U.S. Dist. LEXIS 17275, at *21-23 (D. Mont. Jan. 31, 2024).

   Defendants in this case offer various theories as to what makes a place “sensitive.”

The Court finds none of them convincing.

            a.    Publicly owned or operated, publicly accessible, and crowded

   State Defendants argue that modern public transit systems are sensitive places

because they are crowded spaces that are publicly accessible and publicly owned or

operated. 48 Based on Bruen’s admonition that Manhattan isn’t a sensitive place just


(WBP), 2024 U.S. Dist. LEXIS 152000, at *37-38 (E.D. Va. Aug. 23, 2024) (finding Fairfax
County’s parks to be sensitive places because children attend summer camps at the parks
and the county operates three preschools there). But merely having children or students pre-
sent isn’t enough—one court reasonably declined to declare the New York subway system a
sensitive place “just by virtue of its connection with the school system.” Frey v. Nigrelli, 661
F. Supp. 3d 176, 206-07 (S.D.N.Y. 2023), appeal docketed, No. 23-365 (2d Cir. Jan. 10, 2024).
     48 The Court found no examples of this precise combination of factors considered by other

courts—the closest was courts that have decided how broadly to construe “government build-
ings.” Some courts have taken “government buildings” to mean any building owned by the
government, rejecting the notion that there must be some kind of core government function
associated with the building. Kipke, 695 F. Supp. 3d at 655-56 (analogizing mass transit fa-
cilities to both schools and government buildings); Kipke, 2024 U.S. Dist. LEXIS 137003, at
*15-16; Md. Shall Issue, 680 F. Supp. 3d at 588 (finding public libraries to be sensitive places);
We The Patriots, 2023 U.S. Dist. LEXIS 183043, at *31-32; Robertson, 2023 U.S. Dist. LEXIS



                                               41
 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 42 of 50 PageID #:4517




because it is crowded and generally protected by law enforcement, crowdedness alone

is insufficient to qualify a location as sensitive. State Defendants’ theory adds two

more conditions—so it’s not directly contrary to Bruen’s rejection of crowded and gen-

erally protected places—but those two added conditions still “would in effect exempt

cities from the Second Amendment and would eviscerate the general right to publicly

carry arms for self-defense.” Bruen, 597 U.S. at 31. After all, the streets of Manhat-

tan—or Chicago, to pick an example closer to home—are crowded, publicly accessible,

and publicly owned. State Defendants contend that “only a small slice of modern cities

would be sensitive” under their test, Dkt. 94 at 15, but they don’t explain how the

additional two conditions would exclude most modern cities.




4998, at *12-14, 19-22 (finding the National Institutes of Health to be a sensitive place);
United States v. Power, No. 20-po-331-GLS, 2023 U.S. Dist. LEXIS 4226, at *9-16, 19-21 (D.
Md. Jan. 9, 2023) (same); United States v. Marique, No. 22-00467-PJM, 2023 U.S. Dist.
LEXIS 145677, at *12-14 (D. Md. Aug. 17, 2023), appeal docketed, No. 23-4576 (4th Cir. Oct.
23, 2023) (same); United States v. Tallion, No. 8:22-po-01758-AAQ, 2022 U.S. Dist. LEXIS
225175, at *20-22, 25 (D. Md. Dec. 12, 2022) (same). Other courts have taken a narrower
approach. Ayala, 2024 U.S. Dist. LEXIS 7326, at *36 (finding that post offices aren’t “govern-
ment buildings” under Bruen); United States v. Gearheart, No. 6:23-po-00079-HBK-1, 2024
U.S. Dist. LEXIS 71033, at *27-28 (E.D. Cal. Apr. 18, 2024) (declining to find Yosemite Na-
tional Park in its entirety to be a sensitive place, with the caveat that specific buildings in
the park might be sensitive places); United States v. Tolmosoff, No. 6:23-po-00187-HBK-1,
2024 U.S. Dist. LEXIS 66920, at *26-27 (E.D. Cal. Apr. 11, 2024) (same). Absent further
guidance, this Court is disinclined to construe “government buildings” so broadly because the
examples of government buildings provided by Bruen all bear some relation to the processes
of our democratic government, though the Court would also not go as far as to reject post
offices as government buildings. Even if it were to construe “government buildings” broadly,
that still wouldn’t fully support State Defendants’ theory, as they construe “buildings” even
more broadly so as to include public transportation vehicles.


                                              42
 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 43 of 50 PageID #:4518




             b.      Regulation of historical sensitive places

   State Defendants also compare the Firearm Concealed Carry Act’s ban to histori-

cal regulation of legislative assemblies and polling places. 49 But this argument fails

on account of the purposes of the regulations. State Defendants ask the Court to find

the regulations to be relevantly similar because of the shared purpose of protecting

the public order, but treating any place where the government would want to protect

public order and safety as a sensitive place casts too wide a net—this would seem to

justify almost any gun restriction.

             c.      Enclosed, moving vehicles with no escape

   Ms. Foxx doesn’t offer a comprehensive theory for defining “sensitive places,” but

she argues that public transit (specifically the trains and buses) are sensitive places

because they are enclosed, moving vehicles with no escape. But Ms. Foxx neither

analogizes to the enumerated sensitive places nor provides any evidence to support

the creation of a new “sensitive place” category, so this argument fails.

        3.        Plaintiffs’ arguments

   As stated, because Defendants bear the burden to justify the ban as consistent

with the American tradition of firearm regulation, Plaintiffs don’t need to inde-

pendently prove that the ban is inconsistent with the American tradition. But, for the

sake of developing a full record, the Court addresses Plaintiffs’ arguments. Plaintiffs’

arguments are based on the faulty premise that by simply citing colonial statutes




   49 This mode of analysis is more akin to the analysis comparing the Firearm Concealed

Carry Act’s ban to various historical regulations, but State Defendants frame it as part of
their “sensitive places” argument.


                                              43
 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 44 of 50 PageID #:4519




regarding firearm possession, without considering the historical context, these stat-

utes alone foreclose any firearm regulation today. But that’s not what Bruen requires.

            a.    “Public transportation”

   Plaintiffs argue that the lack of firearm regulation for “public transportation” at

the Founding renders the Firearm Concealed Carry Act’s ban necessarily unconsti-

tutional. Plaintiffs detail two types of transportation that they allege are analogous:

stagecoaches (including horse-drawn omnibuses) and ferries. But even if such trans-

portation at the Founding was “public,” 50 that isn’t an independent basis upon which

to grant Plaintiffs summary judgment. As explained, Bruen doesn’t say that a lack of

regulation in a place or situation that happens to fit some modern label is dispositive.

Cf. Antonyuk, 89 F.4th at 301-02 (“[T]he absence of a distinctly similar historical reg-

ulation in the presented record, though undoubtedly relevant, can only prove so

much.”). Instead, in contemplating how a lack of regulation might be relevant, Bruen

offers few suggestions of what might show that a challenged regulation is inconsistent

with the Second Amendment. The only one potentially applicable to the record before

the Court—and the only one that the parties argue—is to examine if the challenged

regulation “addresses a general societal problem that has persisted since the 18th

century” and there is no “distinctly similar” historical regulation. Bruen, 597 U.S. at

26-27.



   50 Plaintiffs discuss stagecoaches, but their evidence doesn’t support the notion that stage-

coach services were provided by public entities. See also, e.g., Dkt. 72 Ex. 2 at 182 (discussing
a waterman’s displeasure after the introduction of “private coaches”). In addition, State De-
fendants, relying on their experts’ reports, disputed whether ferries were actually publicly
operated. See Dkt. 83 at 9 ¶¶ 47-49.


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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 45 of 50 PageID #:4520




   For the societal problem that the Firearm Concealed Carry Act addresses, State

Defendants assert that the goal of the statute is to protect public order and safety

from the dangers posed by concealed carry, which Plaintiffs don’t challenge. In sup-

port of this assertion, State Defendants cite the statute’s language that a concealed-

carry permit is issued only to an individual who “does not pose a danger to himself,

herself, or others, or a threat to public safety.” 430 ILCS 66/10(a)(4). The source of

danger (i.e., the societal problem) that the modern law addresses is the risk posed by

the person with the firearm. By contrast, the lack of firearm restrictions for stage-

coaches and ferries (and, indeed, sometimes the explicit permission to carry firearms)

was tied to a different societal problem: dangers from the outside, such as wildlife.

Dkt. 83 at 8 ¶ 45. Thus, the evidence about stagecoaches and ferries, as presented,

isn’t probative. 51 In other words, the why is not sufficiently similar to foreclose the

possibility of Defendants putting forth a relevantly similar regulation to justify the

ban.

            b.    Places that required firearms

   Plaintiffs also argue that there is no way to show a tradition of restricting firearms

in crowded locations because of statutes that required people to bear arms at places




   51 In their reply brief, Plaintiffs try to go the opposite direction, starting with the motiva-

tion of the historical statutes and arguing that similar, external dangers on public transpor-
tation necessarily permits them to carry guns today. But this argument is logically flawed
because it again ignores the different social contexts and different regulatory justifications
in its attempt to draw an equivalence between “public transit” then and “public transit” now.
In addition, “[a]rguments raised for the first time in a reply brief are waived.” James, 137
F.3d at 1008.


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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 46 of 50 PageID #:4521




of worship and public meetings. 52 However, Plaintiffs fail to logically connect the ex-

istence of those statutes to the proposition that there can never be a restriction of a

firearm on public transit.

   Plaintiffs also cite 17th century colonial laws—from Massachusetts, Maryland,

Virginia, and Rhode Island 53—requiring that arms be borne when traveling more

than one mile (Massachusetts), two miles (Rhode Island), “any considerable distance”

(Maryland), or “abroad” (Virginia). But Plaintiffs treat these laws as if they’re

“trapped in amber.” Rahimi, 144 S. Ct. at 1897-98. Just as “public transit” then isn’t

necessarily equivalent to “public transit” now, requiring firearms on a two-mile trip

in the 17th century doesn’t necessarily mean one has the same right today. Plaintiffs

fail to contend with the different context of such trips when the laws were enacted.

            c.    Sensitive places

   As for their theory of “sensitive places,” Plaintiffs argue that the key characteristic

shared by legislative assemblies, polling places, and courthouses is the security


   52 19 The Colonial Records of the State of Georgia, pt. 1, at 137-39 (Allen D. Candler ed.,

1911) (1770 law); Archives of Maryland: Proceedings of the Council of Maryland 1636–1667,
at 103 (William Hand Browne ed., Baltimore, Maryland Historical Society 1885); 1 The Stat-
utes at Large; Being a Collection of All the Laws of Virginia from the First Session of the
Legislature in the Year 1619, at 174, 263 (William Waller Hening ed., New York, R. & W. &
G. Bartow 1823) (1631 and 1642 laws); The Public Records of the Colony of Connecticut 95 (J.
Hammond Trumbull ed., Hartford, Brown & Parsons 1850); 1 Records of the Colony of Rhode
Island and Providence Plantations 94 (John Russell Bartlett ed., Providence, A. Crawford
Greene and Brother 1856) (1639 law). Two notes about this list of statutes: first, Plaintiffs
cited one more law from Virginia that allegedly required men to bear arms at church, but the
Court was unable to find it in Plaintiffs’ cited material; second, Plaintiffs included Massa-
chusetts in their list of states that required going armed to public meetings, but they cited
no Massachusetts statute.
    53 1 Records of the Governor and Company of the Massachusetts Bay in New England 190

(Nathaniel B. Shurtleff ed., Boston, William White 1853) (1636 law); Archives of Maryland,
supra, at 103 (1642 law); 1 The Statutes at Large, supra, at 127 (1631 Virginia law); 1 Records
of the Colony of Rhode Island and Providence Plantations, supra, at 94 (1639 law).


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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 47 of 50 PageID #:4522




provided by the government at these locations. In support, Plaintiffs cite a few

sources. First, they cite David B. Kopel & Joseph G.S. Greenlee, The “Sensitive

Places” Doctrine: Locational Limits on the Right to Bear Arms, 13 Charleston L. Rev.

205 (2018), specifically where authors argue that the presence of security indicates

the government’s assessment of whether that location is sensitive. 54 Next, Plaintiffs

cite two amicus briefs—one before the Second Circuit and one before the Third Cir-

cuit—both of which rely on Mr. Kopel and Mr. Greenlee’s argument that sensitive

places were about protecting government deliberation from violent interference. Alt-

hough the Third Circuit has yet to decide its case, the Second Circuit didn’t adopt the

argument from the amicus brief. See Antonyuk, 89 F.4th 271. 55

   The Court found only two courts that have addressed this question head-on. In

the case now on appeal before the Third Circuit, the district court, relying solely on

the arguments in Kopel and Greenlee’s article, agreed with Plaintiffs’ “security” the-

ory. Koons, 673 F. Supp. 3d at 635. Another court unhesitatingly rejected the theory,

calling it “baseless,” but it offered little explanation. Kipke, 695 F. Supp. 3d at 650.

Bruen’s only discussion of a location’s security in relation to its status as a sensitive

place was its rejection of Manhattan as a sensitive place even though it is crowded



   54 Although Bruen cited Mr. Kopel and Mr. Greenlee’s article, it did so for only the narrow

proposition that legislative assemblies, polling places, and courthouses are examples of sen-
sitive places from the 18th and 19th centuries. See Bruen, 597 U.S. at 30. This Court doesn’t
see this as a wholesale endorsement of Mr. Kopel and Mr. Greenlee’s theories for what makes
a place sensitive, especially as Bruen disclaimed that it wasn’t defining “sensitive places.” To
be clear, the Court is not discrediting (or crediting) Mr. Kopel and Mr. Greenlee’s conclusions.
The Court seeks to differentiate between academic research and legal precedent only as it
pertains to what is binding on this Court.
    55 Although the statute in that case had its own list of “sensitive places,” Antonyuk didn’t

frame its analysis with reference to “sensitive places” as the term is used by Bruen.


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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 48 of 50 PageID #:4523




and has general protection provided by the city. Bruen, 597 U.S. at 30-31. Based on

that, general protection alone should also be insufficient.

   Plaintiffs’ theory, however, differs in its formulation: they argue that a sensitive

place must have “comprehensive” security, a presumably higher level of security that

doesn’t run afoul of Bruen’s rejection of Manhattan as a sensitive place. According to

Plaintiffs, the closest modern equivalent to the “comprehensive” security at the

Founding are the armed guards and metal detectors found at courthouses and air-

ports. 56 There are at least two reasons why this makes little sense. First, that only

courthouses and airports have modern security measures that meet Plaintiffs’ defini-

tion of “comprehensive” doesn’t explain why prohibitions at polling places and legis-

lative assemblies are permissible. Polling places and legislative assemblies lack such

security, but the Supreme Court has nevertheless deemed them to be sensitive places.

Second, Plaintiffs fail to establish why “comprehensive” security is the right thresh-

old. Their examples from the Founding era consist of laws that required and/or paid

law enforcement to be present at legislatures, courthouses, and polling places, and

Plaintiffs offer no explanation for how or why that translates to metal detectors in

today’s social context. See United States v. Berkowitz, 927 F.2d 1376, 1384 (7th Cir.

1991) (“We repeatedly have made clear that perfunctory and undeveloped arguments,

and arguments that are unsupported by pertinent authority, are waived . . . .”).




   56 If the Court accepted Plaintiffs’ theory, that would also doom Plaintiffs’ facial chal-

lenge—Plaintiffs acknowledge in their reply brief that “[i]f Illinois were to install TSA-like
security for its subways, buses, or trains, then it could constitutionally ban firearms at those
locations.” Dkt. 92 at 8 n.2.


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 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 49 of 50 PageID #:4524




                                   CONCLUSION

   This action has been properly brought before this Court—despite the disputes over

venue and standing, the parties can’t escape the Court. The parties also can’t escape

that this case requires navigating the murky waters of Bruen. Plaintiffs’ proposed

conduct—carrying concealed handguns on public transit for self-defense—falls within

the presumptive ambit of the Second Amendment, shifting the burden to Defendants

to show that the Firearm Concealed Carry Act’s ban falls within the historical tradi-

tion of firearm regulation in this country. On the record before the Court in this case,

Defendants have failed to meet their burden.

   As for injunctive relief, Plaintiffs have made no argument regarding why they’re

entitled to injunctive relief. See eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391

(2006). Because they’ve forfeited the argument, they haven’t established their enti-

tlement to an injunction.

   The claims against Rick Amato and Eric Rinehart are dismissed without prejudice

for lack of subject-matter jurisdiction. Rick Amato and Eric Rinehart are terminated

from the case. The remaining State Defendants’ motion for summary judgment is

denied. Kimberly Foxx’s motion for summary judgment is denied.

   Plaintiffs’ motion for summary judgment is granted in part. The Court grants de-

claratory relief against Kwame Raoul, Kimberly Foxx, and Robert Berlin, in their

official capacities, that the Firearm Concealed Carry Act’s ban on carrying concealed

firearms on public transportation, as defined in the statute, 430 ILCS 66/65(a)(8),

violates the Second Amendment, as applied to:




                                          49
 Case: 3:22-cv-50326 Document #: 108 Filed: 08/30/24 Page 50 of 50 PageID #:4525




   •   Benjamin Schoenthal carrying a concealed firearm for self-defense on Metra,
       and on Metra’s real property to the extent necessary to ride Metra.

The Court grants declaratory relief against Kwame Raoul and Kimberly Foxx, in

their official capacities, that the Firearm Concealed Carry Act’s ban on carrying con-

cealed firearms on public transportation, as defined in the statute, 430 ILCS

66/65(a)(8), violates the Second Amendment, as applied to:

   •   Mark Wroblewski carrying a concealed firearm for self-defense on Metra, and
       on Metra’s real property to the extent necessary to ride Metra;
   •   Joseph Vesel carrying a concealed firearm for self-defense on Metra and the
       CTA, and on Metra and the CTA’s real property to the extent necessary to ride
       Metra and the CTA; and
   •   Douglas Winston carrying a concealed firearm for self-defense on Metra and
       the CTA, and on Metra and the CTA’s real property to the extent necessary to
       ride Metra and the CTA.




Date: August 30, 2024
                                                       ____________________________
                                                             HON. IAIN D. JOHNSTON
                                                         United States District Judge




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